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                                     CLERK’S MINUTE SHEET
                           IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                 Before the Honorable Karen B. Molzen

                                            Initial Appearance

Case Number:        18-mj-3426                       UNITED STATES vs. Alexander
                                                                             10:02-10:06; 10:08-10:11
Hearing Date:       10/22/2018                       Time In and Out:
                                                                             / 4 min
Clerk:              E. Romero                        Courtroom:              Rio Grande

Defendant:          Bruce Michael Alexander          Defendant’s Counsel:    M. Katze – Duty FPD

AUSA                Michael Murphy                   Pretrial/Probation:     Sandra Day

Interpreter:        N/A
Initial Appearance
☒      Defendant sworn

☒      Defendant received a copy of charging document

☒      Court advises defendant(s) of possible penalties and all constitutional rights

☒      Defendant wants Court appointed counsel

☒      Government moves to detain                    ☐      Government does not recommend detention

☒      Set for Preliminary/Detention Hearing         on October 23, 2018          @ 9:30 am
Preliminary/Show Cause/Identity
☐      Defendant

☐      Court finds probable cause                    ☐      Court does not find probable cause
Custody Status
☐      Defendant waives detention hearing

☒      Defendant detained pending hearing

☐      Conditions
Other
☐      Matter referred to    for final revocation hearing

☒      Defendant may have to reimburse the government for his court appointment of counsel.
